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Attorneys for Plants

UNITED STATES DISTRICT COURT

NORTHERN DISTRICT OF CALIFORNIA

VOTING RIGHTS DEFENSE PROJECT, et

al.,
Plaintiffs,
¥V.
ALEX PADILLA, et al.,

Defendants.

1, TANYA MENA, declare:

Case No. C-16-02739

DECLARATION OF TANYA MENA

{. Until quite recently. 1 was an independent voter, which I now also know is used by

elections officials as “no party preference”. During the last month, I changed my

registration to Democratic so I was certain that I could vote for a Democratic

DECLARATION OF TANYA MENA

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candidate in the Presidential primary. I reside in the City and County of San

Francisco.

. [was the one who received the notice from the Department of Elections of San

Francisco attached as Roduski, Exhibit 11A. I came home one day, opened my mail,
and read a notice from the Department of Elections stating that “to request a ballot
that includes the presidential primary contest of one of these parties (note: referring
to Democrat, AIP, and Libertarian), mark the name of the party on the attached
postage-paid postcard, and sign and return the postcard no later than April 18. If you
do not request the ballot of one of these parties, your ballot will not include a contest

for President.” I sent my response late, and I was very upset.

‘I felt like the safest way to vote for the candidate of my choice was to change my

affiliation from no party preference to Democratic, which I did.
I declare under penalty of perjury that the foregoing is true and correct and of my own

personal knowledge. Executed on May 26, 2016, in San Francisco, California.

YOUU OW

TANYA MENA

DECLARATION OF TANYA MENA 2

